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                           UNITED STATES DISTRICT COURT
                               DISTRICT OF COLUMBIA

                                             )
IN RE SUBPOENA TO                            )
                                             )
RECORDING INDUSTRY ASSOCIATION                     Civil Action No.1:18-mc-00090 (JEB)
                                             )
OF AMERICA                                   )
                                                   Related Action:
                                             )
                                             )
                                                   UMG Recordings, Inc., et al. v. Grande
                                             )
                                                   Communications Networks LLC, No. 1:17-cv-
                                             )
                                                   00365-LY (W.D. Tex.)
                                             )
                                             )
                                             )

                                          ORDER

        This matter comes before the Court on Movant Grande Communications Networks

LLC’s Motion to Compel the Recording Industry Association of America to comply with a

subpoena issued pursuant to Rule 45 of the Federal Rules of Civil Procedure. Having reviewed

the pleadings, the record, and the arguments of counsel, it is hereby ORDERED that the Motion

is granted.

        It is ORDERED that the Recording Industry Association of America shall fully comply

with the subpoena, including through the production of all categories of documents and

information requested in the subpoena and referenced in the Motion, within seven days of the

date of this Order.



Dated: ________________, 2018                     ____________________________
                                                  Judge, United States District Court
                                                  District of Columbia




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